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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )      8:08CR151
                      Plaintiff,              )
                                              )
                      vs.                     )
                                              )
OSCAR COLMENARES-GOLNALEZ,                    )      ORDER
COLMENARES RODRIGUEZ, INC                     )
                                              )
                      Defendant.              )


       Based on the motion of Government (Doc. 96), and for good cause shown,

       IT IS HEREBY ORDERED that the material witness, Luis Ruiz-Anaya, be immediately

released from the custody of the U.S. Marshal's Service into the custody of the United States

Bureau of Immigration and Customs Enforcement.

       DATED November 6, 2008.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
